            Case 3:22-cv-01049-KAD Document 32 Filed 11/23/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

------------------------------------------------------
GOODWIN UNIVERSITY, INC.                               :   CIVIL ACTION NO.
                                                       :   3:22-cv-01049-KAD
                  Plaintiff,                           :
                                                       :
V.                                                     :
                                                       :
DANIEL WILLIAMSON,                                     :
                                                       :   NOVEMBER 23, 2022
                  Defendant.                           :
------------------------------------------------------

                        STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff

Goodwin University, Inc. and defendant Daniel Williamson hereby stipulate that all the claims in

this action and that this entire action should be dismissed with prejudice and without costs or

attorney’s fees.

 PLAINTIFF,                                                    DEFENDANT,
 GOODWIN UNIVERSITY, INC.                                      DANIEL WILLIAMSON

 By:/s/ Richard S. Order                                       By:/s/ Gerald C. Pia, Jr.
    Richard S. Order, Esq. (ct02761)                              Brian C. Roche (ct17975)
    Robert M. DeCrescenzo, Esq. (ct03469)                         Gerald C. Pia, Jr. (ct21296)
    UPDIKE, KELLY & SPELLACY, P.C.                                ROCHE PIA, LLC
    225 Asylum Street, 20th Floor                                 Two Corporate Drive, Suite 248
    Hartford, CT 06103                                            Shelton, CT 06484
    Phone: (860)548-200 Fax (860)548-2680                         Phone (203)944-0235 Fax (203)567-8033
    Email: rorder@uks.com                                         Email: broche@rochepia.com
    Email: rdecrescenzo@uks.com                                   Email: gpia@rochepia.com




                                                           1
3778477
